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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

AT JACKSON
TENNESSEE VALLEY AUTHORITY )
Plaintiff, §
v. § Civil Action No. 1-05-1063-T
MB VALUATION SERVICES, INC. §
Defendant. §

ORDER TO ALLOW DAVID W. HOUSTON. IV TO APPEAR PRO H4C VICE.

MB Valuation Services, Inc.(“MBV”), Plaintiff, by and through its attorneys, having filed
its Motion to Allow David W. Houston, IV to Appear Pro Hac Vice and this Court han-ing
considered said motion, finding it to be well taken,

IT IS THEREFORE ORDERED that David W. Houston, IV be admitted into the Western

District of Tennessee and that he may appear pro hac vice in the above-captioned matter.

This Q /day ofM, 2005.

U ` d States District Judge
Submitted for Entry,

 

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Attomeys for MB Valuation Services, Inc.

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Thls document entered on the docket s ln compliance
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Notice of Distribution

This notice confirms a copy ofthc document docketed as number 8 in
case 1:05-CV-01063 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

